Case 2:23-cv-03826-SPG-JPR Document 2-1 Filed 05/18/23 Page 1 of 29 Page ID #:13
                                                                  Case 2:23-cv-03826-SPG-JPR Document 2-1 Filed 05/18/23 Page 2 of 29 Page ID #:14
                                                                                                   23STCV06494
                                                                               Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: Yvette Palazuelos

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                                                                         XAVIER NEAL-BURGIN
                                                                    14

                                                                    15                          SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                                                    16                                      FOR THE COUNTY OF LOS ANGELES

                                                                    17                                        )
                                                                         XAVIER NEAL-BURGIN, on behalf of                                   Case No:
                                                                                                              )
                                                                         himself, and all others similarly situated,
                                                                    18                                        )                             CLASS ACTION
                                                                                         Plaintiff,           )
                                                                    19                                        )
                                                                                                                                            CLASS ACTION COMPLAINT FOR
                                                                                v.                            )
                                                                    20                                                                      DAMAGES AND RESTITUTION
                                                                                                              )
                                                                    21   HOUSING AUTHORITY OF THE CITY OF )                                 DEMAND FOR JURY TRIAL
                                                                         LOS ANGELES.; and DOES 1 through 50, )
                                                                    22                                        )
                                                                         inclusive,
                                                                                                              )
                                                                    23                                        )
                                                                                         Defendants.
                                                                                                              )
                                                                    24
                                                                                                              )
                                                                    25                                        )
                                                                                                              )
                                                                    26

                                                                    27

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                                                                         COMPLAINT                                                                                           CASE NO.
                                                                  Case 2:23-cv-03826-SPG-JPR Document 2-1 Filed 05/18/23 Page 3 of 29 Page ID #:15



                                                                     1           Plaintiff Xavier Neal-Burgin, individually and on behalf of all other similarly situated

                                                                     2   persons, by and through his attorneys, as and for his class action complaint against defendant

                                                                     3   Housing Authority of the City of Los Angeles, respectfully alleges, upon his own knowledge or,

                                                                     4   where he lacks personal knowledge, upon information and belief including the investigation of

                                                                     5   his counsel, as follows:

                                                                     6                                             INTRODUCTION

                                                                     7           1.      Plaintiff Xavier Neal-Burgin(“Plaintiff”) bring this class action lawsuit on behalf

                                                                     8   of himself and all other similarly situated persons against defendant Housing Authority of the

                                                                     9   City of Los Angeles (“Defendant” or “HACLA”) as a result of Defendant’s failure to safeguard

                                                                    10   and protect the confidential information of Plaintiff and the other members of the Class --
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                                                                    11   including Social Security Numbers and personal information that can be used to perpetrate
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                                                                    12   identity theft -- in Defendant’s custody, control, and care (the “Sensitive Information”).

                                                                    13           2.      Plaintiff is an applicant for housing with HACLA. As a condition of submitting an

                                                                    14   application with HACLA Plaintiff was required to and did supply Sensitive Information to

                                                                    15   Defendant, including, but not limited, to his Social Security Number, date of birth, driver’s

                                                                    16   license or state identification number, and other personal private data.

                                                                    17           3.      Unbeknownst to Plaintiff, Defendant did not have sufficient cyber-security

                                                                    18   procedures and policies in place to safeguard the Sensitive Information it possessed. As a result,

                                                                    19   between January 15, 2022 and December 31, 2022, cybercriminals were able to access certain

                                                                    20   HACLA computer systems, thereby gaining access to approximately a massive trove of 15

                                                                    21   terabytes of Class Members’ Sensitive Information, including Plaintiff’s, stored in those systems

                                                                    22   (the “Data Breach”). Plaintiff and members of the proposed Class have suffered damages as a

                                                                    23   result of the unauthorized and preventable disclosure of their Sensitive Information.

                                                                    24           4.      The infamous criminal group LockBit, a hacker collective known for numerous

                                                                    25   data security attacks, claimed to have perpetrated the Data Breach. On December 31, 2022

                                                                    26   LockBit published Class Members’ Sensitive Information on the dark web, where it can be used

                                                                    27   to facilitate identity theft and other fraud.

                                                                    28

                                                                         COMPLAINT                                               2                                    CASE NO.
                                                                  Case 2:23-cv-03826-SPG-JPR Document 2-1 Filed 05/18/23 Page 4 of 29 Page ID #:16



                                                                     1           5.      Plaintiff has received significantly more spam texts, calls, and emails since the

                                                                     2   Data Breach.

                                                                     3           6.      The Data Breach was a direct result of Defendant’s failure to implement adequate

                                                                     4   and reasonable cybersecurity protections and protocols that were necessary to protect the

                                                                     5   Sensitive Information of students and employees entrusted into Defendant’s custody and care.

                                                                     6           7.      This lawsuit seeks to redress Defendant’s unlawful disclosure of the Sensitive

                                                                     7   Information of all persons affected by this Data Breach.

                                                                     8           8.      Plaintiff asserts causes of action sounding in common negligence, negligent hiring

                                                                     9   and training of employees, breach of duty, and delay in notification of the Data Breach, all arising

                                                                    10   from Defendant’s failure to safeguard his Sensitive Information, and brings claims for
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                                                                    11   consequential damages, injunctive relief, and punitive damages.
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                                                                    12                                               PARTIES

                                                                    13           9.      Xavier Neal-Burgin is a natural person residing in Los Angeles, California. He is

                                                                    14   a citizen of California.

                                                                    15           10.     Defendant Housing Authority of the City of Los Angeles is a California state-

                                                                    16   chartered agency providing affordable housing and job training to low-income residents in the

                                                                    17   city of Los Angeles, California.

                                                                    18           11.     At all times material hereto, HACLA acted by and through agents, employees, and

                                                                    19   representatives, who were acting in the course and scope of their respective agency or

                                                                    20   employment and/or in the promotion of Defendant’s business, mission, and/or affairs.

                                                                    21                                      JURISDICTION AND VENUE

                                                                    22           12.     This class action is brought pursuant to California Code of Civil Procedure § 382.

                                                                    23   The damages sought by Plaintiff will be established according to proof at trial.

                                                                    24           13.     This Court has jurisdiction over all causes of action pursuant to the California

                                                                    25   Constitution, Art. VI, § 10.

                                                                    26           14.     This Court has jurisdiction over Defendant because, upon information and belief,

                                                                    27   Defendant is a citizen of California, has sufficient minimal contacts in California, or otherwise

                                                                    28

                                                                         COMPLAINT                                                  3                             CASE NO.
                                                                  Case 2:23-cv-03826-SPG-JPR Document 2-1 Filed 05/18/23 Page 5 of 29 Page ID #:17



                                                                     1   intentionally avails itself of the California market so as to render the exercise of jurisdiction over

                                                                     2   it by the California courts consistent with traditional notions of fair play and substantial justice.

                                                                     3          15.       Venue is proper in this court because Defendant is located in Los Angeles County,

                                                                     4   and Los Angeles County is the location where a substantial part of the events or omissions giving

                                                                     5   rise to Plaintiff’s claims occurred.

                                                                     6                               THE RISKS OF DATA BREACHES AND

                                                                     7              COMPROMISED SENSITIVE INFORMATION ARE WELL KNOWN

                                                                     8          16.       Defendant had obligations created by contract, industry standards, common law,

                                                                     9   and representations made to current, former, and prospective students to keep Plaintiff’s and

                                                                    10   Class Members’ Sensitive Information confidential and to protect it from unauthorized access and
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                                                                    11   disclosure.
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                                                                    12          17.       Defendant’s data security obligations are and were particularly important given the

                                                                    13   substantial increase in cyberattacks and/or data breaches widely reported on in the last few years.

                                                                    14   In fact, in the wake of this rise in data breaches, the Federal Trade Commission has issued an

                                                                    15   abundance of guidance for companies and institutions that maintain individuals’ Sensitive

                                                                    16   Information. 1

                                                                    17          18.       Indeed, according to a report by Risk Based Security, Inc., by the end of June,

                                                                    18   2020 was already the “worst year on record” in terms of records exposed in data breaches. 2

                                                                    19          19.       Therefore, Defendant clearly knew or should have known of the risks of data

                                                                    20   breaches and thus should have ensure that adequate protections were in place.

                                                                    21   //

                                                                    22   //

                                                                    23   //

                                                                    24
                                                                         1
                                                                            See, e.g., Protecting Personal Information: A Guide for Business, FTC, available at
                                                                    25
                                                                         https://www.ftc.gov/tips-advice/business-center/guidance/protecting-personal-information-guide-
                                                                    26   business.
                                                                         2
                                                                                See      2020     Q3       Report,    Risk     Based    Security, available  at
                                                                    27
                                                                         https://pages.riskbasedsecurity.com/hubfs/Reports/2020/2020%20Q3%20Data%20Breach%20Qu
                                                                    28   ickView%20Report.pdf.


                                                                         COMPLAINT                                                  4                                CASE NO.
                                                                  Case 2:23-cv-03826-SPG-JPR Document 2-1 Filed 05/18/23 Page 6 of 29 Page ID #:18



                                                                     1                       DEFENDANT ALLOWED CRIMINALS TO OBTAIN

                                                                     2                 PLAINTIFF’S AND THE CLASS’ SENSITIVE INFORMATION.

                                                                     3          20.     Plaintiff and Class Members were obligated to provide Defendant with their

                                                                     4   Sensitive Information as part of their relationships with Defendant.

                                                                     5          21.     Due to inadequate security against unauthorized intrusions, cybercriminals

                                                                     6   breached Defendant’s computer systems between approximately January 15, 2022 and December

                                                                     7   31, 2022. This Data Breach resulted in the criminals unlawfully obtaining access to current and

                                                                     8   former applicants’ Sensitive Information, including their identities and Social Security Numbers.

                                                                     9                         DATA BREACHES LEAD TO IDENTITY THEFT

                                                                    10          22.     Data breaches are more than just technical violations of their victims’ rights. By
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                                                                    11   accessing a victim’s personal information, the cybercriminal can ransack the victim’s life:
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                                                                    12   withdraw funds from bank accounts, get new credit cards or loans in the victims’ name, lock the

                                                                    13   victim out of his or her financial or social media accounts, send out fraudulent communications

                                                                    14   masquerading as the victim, file false tax returns, destroy their credit rating, and more. 3

                                                                    15          23.     Indeed, the LockBit hacker collective has already posted Sensitive Information of

                                                                    16   Class Members on the dark web, where it can be purchased and used by malicious actors to

                                                                    17   commit a variety of fraud, including but not limited to identity theft.

                                                                    18          24.     As the United States Government Accountability Office noted in a June 2007

                                                                    19   report on data breaches (“GAO Report”), identity thieves use identifying data such as Social

                                                                    20   Security Numbers to open financial accounts, receive government benefits, and incur charges and

                                                                    21   credit in a person’s name. 4 As the GAO Report states, this type of identity theft is more harmful

                                                                    22   than any other because it often takes time for the victim to become aware of the theft, and the

                                                                    23   theft can impact the victim’s credit rating adversely.

                                                                    24
                                                                         3
                                                                            See https://topclassactions.com/lawsuit-settlements/privacy/data-breach/875438-recent-data-
                                                                    25
                                                                         breach/ (last accessed May 7, 2019).
                                                                    26   4
                                                                           See Personal Information: Data Breaches Are Frequent, but Evidence of Resulting Identity
                                                                         Theft Is Limited; However, the Full Extent Is Unknown (June 2007), United States Government
                                                                    27
                                                                         Accountability Office, available at <https://www.gao.gov/new.items/d07737.pdf> (last visited
                                                                    28   June 3, 2019).


                                                                         COMPLAINT                                                  5                                   CASE NO.
                                                                  Case 2:23-cv-03826-SPG-JPR Document 2-1 Filed 05/18/23 Page 7 of 29 Page ID #:19



                                                                     1              25.     In addition, the GAO Report states that victims of this type of identity theft will

                                                                     2   face “substantial costs and inconveniences repairing damage to their credit records” and their

                                                                     3   “good name.” 5

                                                                     4              26.     Identity theft victims are frequently required to spend many hours and large sums

                                                                     5   of money repairing the adverse impact to their credit.           Identity thieves use stolen personal

                                                                     6   information for a variety of crimes, including credit card fraud, phone or utilities fraud, and

                                                                     7   bank/finance fraud.

                                                                     8              27.     There may be a time lag between when sensitive information is stolen and when it

                                                                     9   is used. According to the GAO Report:

                                                                    10                      “[L]aw enforcement officials told us that in some cases, stolen data
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                                                                                            may be held for up to a year or more before being used to commit
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                                                                    11                      identity theft. Further, once stolen data have been sold or posted on
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                                                                                            the Web, fraudulent use of that information may continue for years.
                                                                    12                      As a result, studies that attempt to measure the harm resulting from
                                                                                            data breaches cannot necessarily rule out all future harm. 6
                                                                    13

                                                                    14              28.     With access to an individual’s Sensitive Information, cyber criminals can do more

                                                                    15   than just empty a victim’s bank account -- they can also commit all manner of fraud, including:

                                                                    16   obtaining a driver’s license or official identification card in the victim’s name but with the thief’s

                                                                    17   picture; using the victim’s name and Social Security Number to obtain government benefits; or

                                                                    18   filing a fraudulent tax return using the victim’s information. In addition, identity thieves may

                                                                    19   obtain a job using the victim’s Social Security Number, rent a house, or receive medical services

                                                                    20   in the victim’s name, and may even give the victim’s personal information to police during an

                                                                    21   arrest, resulting in an arrest warrant being issued in the victim’s name. 7

                                                                    22              29.     Such personal information is such a crucial commodity to identity thieves that

                                                                    23   once the information has been compromised, criminals often trade the information on the “cyber

                                                                    24   black-market” for years. As a result of recent large-scale data breaches, identity thieves and

                                                                    25
                                                                         5
                                                                             Id. at 2, 9.
                                                                    26   6
                                                                             Id. at 29 (emphasis added).
                                                                    27   7
                                                                            See Federal Trade Commission, Warning Signs of Identity Theft, available at
                                                                    28   https://www.identitytheft.gov/Warning-Signs-of-Identity-Theft (last visited May 28, 2019).


                                                                         COMPLAINT                                                   6                              CASE NO.
                                                                  Case 2:23-cv-03826-SPG-JPR Document 2-1 Filed 05/18/23 Page 8 of 29 Page ID #:20



                                                                     1   cyber criminals have openly posted stolen credit card numbers, Social Security Numbers, and

                                                                     2   other Sensitive Information directly on various Internet websites making the information publicly

                                                                     3   available.

                                                                     4                DEFENDANT DELAYED NOTICE TO PLAINTIFF AND THE CLASS

                                                                     5            30.     Despite becoming aware of the Data Breach on or about December 31, 2022,

                                                                     6   Defendant only notified Plaintiff and members of the Class that its systems had been breached

                                                                     7   and that their Sensitive Information was compromised in March, 2023 -- months after Defendant

                                                                     8   learned that the Data Breach occurred.

                                                                     9            31.     On or about March 10, 2023, Defendant sent letters to Plaintiff and other Class

                                                                    10   members advising them that their Sensitive Information had been subject to unauthorized access
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                                                                    11   and had been compromised on or about January 15, 2022 through December 31, 2022 (the “Letter
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                                                                    12   Notification”). A copy of the Letter Notification that Plaintiff received is attached as Exhibit A to

                                                                    13   this Complaint. The Letter Notification offered only a single year of credit monitoring through

                                                                    14   Experian IdenityWorks, and only for individuals who signed up for such monitoring by June 30,

                                                                    15   2023.

                                                                    16       DEFENDANT’S OBLIGATIONS AND ITS NEGLIGENT FAILURE TO MEET THEM

                                                                    17            32.     In the ordinary course of, and as a condition of, applying for housing assistance

                                                                    18   with HACLA, Plaintiff, like thousands of other current and former applicants provided Sensitive

                                                                    19   Information, including but not limited to his Social Security Numbers, to Defendant.

                                                                    20            33.     Defendant maintains this Sensitive Information within its data infrastructure.

                                                                    21            34.     Defendant compounded the actual and potential harm arising from the Data Breach

                                                                    22   by not notifying Plaintiff and other Class Members of the compromise of their personal

                                                                    23   information until March 2023, when the Letter Notification was sent. Defendant’s own Letter

                                                                    24   Notification advises Plaintiff and other Class Members to “remain vigilant against incidents of

                                                                    25   identity theft and fraud by reviewing your account statements and monitoring your free credit

                                                                    26   reports for suspicious activity”. 8 Defendant’s unjustified delay in notifying Plaintiff and the

                                                                    27
                                                                         8
                                                                    28       See Notice Letter


                                                                         COMPLAINT                                                  7                              CASE NO.
                                                                  Case 2:23-cv-03826-SPG-JPR Document 2-1 Filed 05/18/23 Page 9 of 29 Page ID #:21



                                                                     1   Class that they were victims of the Data Breach will dilute any salutary effect that might come

                                                                     2   from these suggestions.

                                                                     3             35.     Defendant’s security failure demonstrates that it failed to honor its duties and

                                                                     4   promises by not:

                                                                     5             a.      Maintaining an adequate data security system to reduce the risk of data breaches

                                                                     6                     and cyber-attacks;

                                                                     7             b.      Adequately protecting Plaintiff’s and the Class Members’ Sensitive Information;

                                                                     8             c.      Properly monitoring its own data security systems for existing intrusions; and

                                                                     9             d.      Ensuring that agents, employees, and others with access to Sensitive Information

                                                                    10                     employed reasonable security procedures.
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                                                                    11             36.     Plaintiff and all members of the Class have consequently suffered harm by virtue
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                                                                    12   of the compromise and exposure of their Sensitive Information -- including, but not limited to,

                                                                    13   (i) an imminent risk of future identity theft; (ii) lost time expended to mitigate the threat of

                                                                    14   identity theft; (iii) diminished value of personal information; and (iv) a loss of privacy. Plaintiff

                                                                    15   and Class Members were also injured because they did not receive the full value of the services

                                                                    16   for which they bargained; to wit, educational services plus adequate data security. Plaintiff and

                                                                    17   all members of the proposed Class are and will continue to be at imminent risk for tax fraud and

                                                                    18   identify theft and the attendant dangers thereof for the rest of their lives because their Sensitive

                                                                    19   Information, including Social Security Numbers, is in the hands of cyber-criminals.

                                                                    20                  DEFENDANT’S INADEQUATE RESPONSE TO THE DATA BREACH

                                                                    21             37.     Defendant’s Letter Notification stated that it is “reviewing [HACLA’s] policies

                                                                    22   and procedures relating to data privacy and security.” 9 No details were provided, and thus it

                                                                    23   cannot be determined from the Letter Notification whether Defendant did any of the foregoing, or

                                                                    24   if it did, whether these enhancements are sufficient to prevent recurrences similar to the Data

                                                                    25   Breach.

                                                                    26

                                                                    27
                                                                         9
                                                                    28       See Letter Notification at 1.


                                                                         COMPLAINT                                                  8                              CASE NO.
                                                          Case 2:23-cv-03826-SPG-JPR Document 2-1 Filed 05/18/23 Page 10 of 29 Page ID #:22



                                                                   1          38.     The belated Letter Notification also included an offer from Defendant of one year

                                                                   2   of free credit monitoring and identity theft resolution services through a third party provider,

                                                                   3   Experian. Defendant, however, offered an unreasonably short window of opportunity to claim

                                                                   4   these services, with victims of the Data Breach needing to claim these services before June 30,

                                                                   5   2023, or be closed out. In addition, one year of credit monitoring services is insufficient, given

                                                                   6   that Plaintiff’s and the Class Members’ risk of identity theft will continue throughout their lives.

                                                                   7          39.     Conspicuously absent from the Letter Notification is any offer of compensation for

                                                                   8   out-of-pocket losses which the Class has and foreseeably will sustain -- including, but not limited

                                                                   9   to, time spent to rectify any and all harms that resulted from the Data Breach. Plaintiff and

                                                                  10   members of the Class have suffered financial loss, including but not limited to lost opportunity
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                                                                  11   costs for the time and effort necessary to remedy the harm they suffered. Thus, Defendant’s offer
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                                                                  12   in the Letter Notification fails to make Plaintiff and the other members of the Class whole.

                                                                  13                                       CLASS ALLEGATIONS

                                                                  14          40.     This action is brought on behalf of Plaintiff and all similarly situated persons

                                                                  15   pursuant to Cal. Civ. Proc. Code § 382. The Class is defined as:

                                                                  16                  All persons whose Sensitive Information was exposed to

                                                                  17                  unauthorized access by way of the data breach of Defendant’s

                                                                  18                  computer system between approximately January 15, 2022 and

                                                                  19                  December 31, 2022.

                                                                  20          41.     Plaintiff reserves the right to amend the above definition, or to propose other or

                                                                  21   additional classes, in subsequent pleadings and/or motions for class certification.

                                                                  22          42.     Plaintiff is a member of the Class.

                                                                  23          43.     Excluded from the Class are: (i) Defendant; any entity in which Defendant has a

                                                                  24   controlling interest; the officers, directors, and employees of Defendant; and the legal

                                                                  25   representatives, heirs, successors, and assigns of Defendant; (ii) any judge assigned to hear this

                                                                  26   case (or any spouse or family member of any assigned judge); (iii) any juror selected to hear this

                                                                  27   case; and (iv) any and all legal representatives (and their employees) of the parties.

                                                                  28          44.     This action seeks both injunctive relief and damages.

                                                                       COMPLAINT                                                 9                               CASE NO.
                                                          Case 2:23-cv-03826-SPG-JPR Document 2-1 Filed 05/18/23 Page 11 of 29 Page ID #:23



                                                                   1          45.      Plaintiff and the Class satisfy the requirements for class certification for the

                                                                   2   following reasons:

                                                                   3          46.      Numerosity of the Class. On information and belief, the members of the Class

                                                                   4   are so numerous that their individual joinder is impracticable. The precise number of persons in

                                                                   5   the Class and their identities and addresses may be ascertained or corroborated from Defendant’s

                                                                   6   records.     If deemed necessary by the Court, members of the Class may be notified of the

                                                                   7   pendency of this action.

                                                                   8          47.      Common Questions of Law and Fact. There are questions of law and fact

                                                                   9   common to the Class that predominate over any questions affecting only individual members,

                                                                  10   including:
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                                                                  11          a.       Whether Defendant’s data security systems prior to the Data Breach met the
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                                                                  12                   requirements of relevant laws;

                                                                  13          b.       Whether Defendant’s data security systems prior to the Data Breach met industry

                                                                  14                   standards;

                                                                  15          c.       Whether Plaintiff’s and other Class Members’ Sensitive Information was

                                                                  16                   compromised in the Data Breach; and

                                                                  17          d.       Whether Plaintiff and other Class Members are entitled to damages as a result of

                                                                  18                   Defendant’s conduct.

                                                                  19          48.      Typicality.   The claims or defenses of Plaintiff are typical of the claims or

                                                                  20   defenses of the proposed Class because Plaintiff’s claims are based upon the same legal theories

                                                                  21   and same violations of law. Plaintiff’s grievances, like the proposed Class Members’ grievances,

                                                                  22   all arise out of the same business practices and course of conduct by Defendant.

                                                                  23          49.      Adequacy. Plaintiff will fairly and adequately represent the Class on whose

                                                                  24   behalf this action is prosecuted. His interests do not conflict with the interests of the Class.

                                                                  25          50.      Plaintiff and his chosen attorneys -- Finkelstein, Blankinship, Frei-Pearson &

                                                                  26   Garber, LLP (“FBFG”) and Keller Grover LLP -- are familiar with the subject matter of the

                                                                  27   lawsuit and have full knowledge of the allegations contained in this Complaint.

                                                                  28

                                                                       COMPLAINT                                                 10                                CASE NO.
                                                          Case 2:23-cv-03826-SPG-JPR Document 2-1 Filed 05/18/23 Page 12 of 29 Page ID #:24



                                                                   1          51.     FBFG has been appointed as lead counsel in several complex class actions across

                                                                   2   the country and has secured numerous favorable judgments in favor of its clients, including in

                                                                   3   cases involving data breaches. FBFG’s attorneys are competent in the relevant areas of the law

                                                                   4   and have sufficient experience to vigorously represent the Class Members.          Finally, FBFG

                                                                   5   possesses the financial resources necessary to ensure that the litigation will not be hampered by a

                                                                   6   lack of financial capacity and is willing to absorb the costs of the litigation.

                                                                   7          52.     Superiority.     A class action is superior to any other available method for

                                                                   8   adjudicating this controversy.      The proposed class action is the surest way to fairly and

                                                                   9   expeditiously compensate such a large a number of injured persons, to keep the courts from

                                                                  10   becoming paralyzed by hundreds -- if not thousands -- of repetitive cases, and to reduce
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                                                                  11   transaction costs so that the injured Class Members can obtain the most compensation possible.
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                                                                  12          53.     Class treatment presents a superior mechanism for fairly resolving similar issues

                                                                  13   and claims without repetitious and wasteful litigation for many reasons, including the following:

                                                                  14          a.      It would be a substantial hardship for most individual members of the Class if they

                                                                  15                  were forced to prosecute individual actions. Many members of the Class are not in

                                                                  16                  the position to incur the expense and hardship of retaining their own counsel to

                                                                  17                  prosecute individual actions, which in any event might cause inconsistent results.

                                                                  18          b.      When the liability of Defendant has been adjudicated, the Court will be able to

                                                                  19                  determine the claims of all members of the Class. This will promote global relief

                                                                  20                  and judicial efficiency in that the liability of Defendant to all Class Members, in

                                                                  21                  terms of money damages due and in terms of equitable relief, can be determined in

                                                                  22                  this single proceeding rather than in multiple, individual proceedings where there

                                                                  23                  will be a risk of inconsistent and varying results.

                                                                  24          c.      A class action will permit an orderly and expeditious administration of the Class

                                                                  25                  claims, foster economies of time, effort, and expense, and ensure uniformity of

                                                                  26                  decisions. If Class Members are forced to bring individual suits, the transactional

                                                                  27                  costs, including those incurred by Defendant, will increase dramatically, and the

                                                                  28                  courts will be clogged with a multiplicity of lawsuits concerning the very same

                                                                       COMPLAINT                                                  11                           CASE NO.
                                                          Case 2:23-cv-03826-SPG-JPR Document 2-1 Filed 05/18/23 Page 13 of 29 Page ID #:25



                                                                   1                    subject matter, with the identical fact patterns and the same legal issues. A class

                                                                   2                    action will promote a global resolution and will promote uniformity of relief as to

                                                                   3                    the Class Members and as to Defendant.

                                                                   4            d.      This lawsuit presents no difficulties that would impede its management by the

                                                                   5                    Court as a class action. The class certification issues can be easily determined

                                                                   6                    because the Class includes only MSMC current and former students and

                                                                   7                    employees, the legal and factual issues are narrow and easily defined, and the

                                                                   8                    Class membership is limited. The Class does not contain so many persons that

                                                                   9                    would make the Class notice procedures unworkable or overly expensive. The

                                                                  10                    identity of the Class Members can be identified from Defendant’s records, such
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                                                                  11                    that direct notice to the Class Members would be appropriate.
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                                                                  12            54.     In addition, Defendant has acted or refused to act on grounds generally applicable

                                                                  13   to the Class, thereby making appropriate final injunctive or equitable relief with respect to the

                                                                  14   Class.
                                                                                                      FIRST CAUSE OF ACTION
                                                                  15                             NEGLIGENCE IN THE HANDLING OF
                                                                  16                    PLAINTIFF’S AND THE CLASS’ SENSITIVE INFORMATION

                                                                  17            55.     Plaintiff repeats each and every allegation of this Complaint as if fully set forth at

                                                                  18   length herein.

                                                                  19            56.     Defendant owed a duty to Plaintiff and to the Class to exercise reasonable care in

                                                                  20   obtaining, securing, safeguarding, properly disposing of and protecting Plaintiff’s and Class

                                                                  21   Members’ Sensitive Information within its control from being compromised by or being accessed

                                                                  22   by unauthorized third parties. This duty included, among other things, maintaining adequate

                                                                  23   control over its computer systems and network so as to prevent unauthorized access thereof.

                                                                  24            57.     Defendant owed a duty of care to the Plaintiff and members of the Class to provide

                                                                  25   security, consistent with industry standards, to ensure that its computer systems adequately

                                                                  26   protected the Sensitive Information of the individuals who entrusted it to the Defendant.

                                                                  27            58.     Only Defendant was in a position to ensure that its systems were sufficient to

                                                                  28   protect against the harm to Plaintiff and the members of the Class from the Data Breach.

                                                                       COMPLAINT                                                  12                              CASE NO.
                                                          Case 2:23-cv-03826-SPG-JPR Document 2-1 Filed 05/18/23 Page 14 of 29 Page ID #:26



                                                                   1          59.     In addition, Defendant had a duty to use reasonable security measures under

                                                                   2   Section A of the Federal Trade Commission Act, 15 U.S.C. § 45, which prohibits

                                                                   3   “unfair . . . practices in or affecting commerce,” including, as interpreted and enforced by the

                                                                   4   FTC, the unfair practice of failing to use reasonable measures to protect confidential data.

                                                                   5          60.     Defendant’s duty to use reasonable care in protecting the Sensitive Information

                                                                   6   arose not only as a result of the common law and the statutes and regulations described above, but

                                                                   7   also because they are bound by, and have committed to comply with, industry standards for the

                                                                   8   protection of confidential information.

                                                                   9          61.     Defendant breached its common law, statutory, and other duties -- and thus, was

                                                                  10   negligent -- by failing to use reasonable measures to protect students’, alumni’s, and applicants’
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                                                                  11   Sensitive Information, and by failing to provide timely notice of the Data Breach. The specific
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                                                                  12   negligent acts and omissions committed by Defendant include, but are not limited to, the

                                                                  13   following:

                                                                  14          a.      failing to adopt, implement, and maintain adequate security measures to safeguard

                                                                  15                  Plaintiff’s and the Class Members’ Sensitive Information;

                                                                  16          b.      failing to adequately monitor the security of its networks and systems;

                                                                  17          c.      allowing unauthorized access to Plaintiff’s and the Class Members’ Sensitive

                                                                  18                  Information; and

                                                                  19          d.      failing to warn Plaintiff and other Class Members about the Data Breach in a

                                                                  20                  timely manner so that they could take appropriate steps to mitigate the potential

                                                                  21                  for identity theft and other damages.

                                                                  22          62.     Defendant owed a duty of care to the Plaintiff and the members of the Class

                                                                  23   because they were foreseeable and probable victims of any inadequate security practices.

                                                                  24          63.     It was foreseeable that Defendant’s failure to use reasonable measures to protect

                                                                  25   Sensitive Information and to provide timely notice of the Data Breach would result in injury to

                                                                  26   Plaintiff and other Class Members. Further, the breach of security, unauthorized access, and

                                                                  27   resulting injury to Plaintiff and the members of the Class were reasonably foreseeable.

                                                                  28

                                                                       COMPLAINT                                                13                               CASE NO.
                                                          Case 2:23-cv-03826-SPG-JPR Document 2-1 Filed 05/18/23 Page 15 of 29 Page ID #:27



                                                                   1          64.      It was therefore foreseeable that the failure to adequately safeguard Sensitive

                                                                   2   Information would result in one or more of the following injuries to Plaintiff and the members of

                                                                   3   the proposed Class: ongoing, imminent, certainly impending threat of identity theft crimes, fraud,

                                                                   4   and abuse, resulting in monetary loss and economic harm; actual identity theft crimes, fraud, and

                                                                   5   abuse, resulting in monetary loss and economic harm; loss of the confidentiality of the stolen

                                                                   6   confidential data; the illegal sale of the compromised data on the deep web black market;

                                                                   7   expenses and/or time spent on credit monitoring and identity theft insurance; time spent

                                                                   8   scrutinizing bank statements, credit card statements, and credit reports; expenses and/or time

                                                                   9   spent initiating fraud alerts; decreased credit scores and ratings; lost work time; and other

                                                                  10   economic and non-economic harm.
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                                                                  11          65.      Defendant knew or reasonably should have known of the inherent risks in
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                                                                  12   collecting and storing the Sensitive Information of Plaintiff and members of the Class and the

                                                                  13   critical importance of providing adequate security of that information, yet despite the foregoing

                                                                  14   had inadequate cyber-security systems and protocols in place to secure the Sensitive Information.

                                                                  15          66.      As a result of the foregoing, the Defendant unlawfully breached its duty to use

                                                                  16   reasonable care to protect and secure the Sensitive Information of Plaintiff and the Class which

                                                                  17   Plaintiff and members of the Class were required to provide to Defendant as a condition of filing

                                                                  18   an application with HACLA.

                                                                  19          67.      Plaintiff and members of the Class reasonably relied on the Defendant to safeguard

                                                                  20   their information, and while Defendant was in a position to protect against harm from a data

                                                                  21   breach, Defendant negligently and carelessly squandered that opportunity. As a proximate result,

                                                                  22   Plaintiff and members of the Class suffered and continue to suffer the consequences of the Data

                                                                  23   Breach.

                                                                  24          68.      Defendant’s negligence was the proximate cause of harm to Plaintiff and members

                                                                  25   of the Class.

                                                                  26          69.      Had Defendant not failed to implement and maintain adequate security measures

                                                                  27   to protect the Sensitive Information of its students, alumni, and applicants, Plaintiff’s and Class

                                                                  28

                                                                       COMPLAINT                                               14                              CASE NO.
                                                          Case 2:23-cv-03826-SPG-JPR Document 2-1 Filed 05/18/23 Page 16 of 29 Page ID #:28



                                                                   1   Members’ Sensitive Information would not have been exposed to unauthorized access and stolen,

                                                                   2   and they would not have suffered any harm.

                                                                   3          70.     However, as a direct and proximate result of Defendant’s negligence, Plaintiff and

                                                                   4   members of the Class have been seriously and permanently damaged by the Data Breach.

                                                                   5   Specifically, Plaintiff and members of the Class have been injured by, among other things; (1) the

                                                                   6   loss of the opportunity to control how their Sensitive Information is used; (2) diminution of value

                                                                   7   and the use of their Sensitive Information; (3) compromise, publication and/or theft of the

                                                                   8   Plaintiff’s and the Class Members’ Sensitive Information; (4) out-of-pocket costs associated with

                                                                   9   the prevention, detection and recovery from identity theft and/or unauthorized use of financial

                                                                  10   and medical accounts; (5) lost opportunity costs associated with their efforts expended and the
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                                                                  11   loss of productivity from addressing as well as attempting to mitigate the actual and future
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                                                                  12   consequences of the breach including, but not limited to, efforts spent researching how to prevent,

                                                                  13   detect, and recover from identity data misuse; (6) costs associated with the ability to use credit

                                                                  14   and assets frozen or flagged due to credit misuse, including complete credit denial and/or

                                                                  15   increased cost of the use, the use of credit, credit scores, credit reports, and assets;

                                                                  16   (7) unauthorized use of compromised Sensitive Information to open new financial and/or

                                                                  17   healthcare and/or medical accounts; (8) tax fraud and/or other unauthorized charges to financial,

                                                                  18   healthcare or medical accounts and associated lack of access to funds while proper information is

                                                                  19   confirmed and corrected and/or imminent risk of the foregoing; (9) continued risks to their

                                                                  20   Sensitive Information, which remains in the Defendant’s possession and may be subject to further

                                                                  21   breaches so long as Defendant fails to undertake appropriate and adequate measures to protect the

                                                                  22   Sensitive Information in its possession; and (10) future costs in terms of time, effort and money

                                                                  23   that will be spent trying to prevent, detect, contest and repair the effects of the Sensitive

                                                                  24   Information compromised as a result of the Data Breach as a remainder of the Plaintiff’s and

                                                                  25   Class Members’ lives.

                                                                  26          71.     Plaintiff and the Class seek damages, injunctive relief, and other and further relief

                                                                  27   as the Court may deem just and proper.

                                                                  28

                                                                       COMPLAINT                                               15                               CASE NO.
                                                          Case 2:23-cv-03826-SPG-JPR Document 2-1 Filed 05/18/23 Page 17 of 29 Page ID #:29



                                                                   1                              SECOND CAUSE OF ACTION
                                                                                      VIOLATION OF CALIFORNIA UNFAIR COMPETITION LAW
                                                                   2                           Cal. Bus. & Prof. Code §§ 17200, et seq
                                                                   3          72.       Plaintiff repeats each and every allegation of this Complaint as if fully set forth at
                                                                   4   length herein.
                                                                   5          73.       Defendant is a “person” as defined by Cal. Bus. & Prof. Code § 17201.
                                                                   6          74.       Defendant violated Cal. Bus. & Prof. Code §§ 17200, et seq. (“UCL”) by engaging
                                                                   7   in unlawful, unfair, and deceptive business acts and practices.
                                                                   8          75.       Defendant’s “unfair” and “fraudulent” acts and practices include omitting,
                                                                   9   suppressing, and concealing the material fact that they did not have and did not reasonably ensure
                                                                  10   that HACLA reasonably or adequately secured Plaintiff’s and Class Members’ Sensitive
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                                                                  11   Information.
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                                                                  12          76.       Defendant engaged in “unlawful” business practices by violating multiple laws,
                                                                  13   including California’s Consumer Records Act, Cal. Civ. Code §§ 1798.81.5 (requiring reasonable
                                                                  14   data security measures) and 1798.82 (requiring timely breach notification), California’s
                                                                  15   Consumers Legal Remedies Act, Cal. Civ. Code §§ 1780, et seq., the FTC Act, 15 U.S.C. § 45,
                                                                  16   and California common law.
                                                                  17          77.       Defendant engaged in acts of deception and false pretense in connection with its
                                                                  18   accepting, collecting, securing, and otherwise protecting Class Members’ Sensitive Information
                                                                  19   and engaged in the following deceptive and unconscionable trade practices, including:
                                                                  20                    a.     Failing to exercise reasonable care and implement adequate security
                                                                  21                           systems, protocols, and practices sufficient to protect Plaintiff’s and Class
                                                                  22                           Members’ Sensitive Information;
                                                                  23                    b.     Failing to comply with industry standard data security standards during the
                                                                  24                           period of the Data Breach;
                                                                  25                    c.     Failing to comply with regulations protecting the Sensitive Information at
                                                                  26                           issue during the period of the Data Breach;
                                                                  27                    d.     Failing to adequately monitor and audit its data security systems;
                                                                  28

                                                                       COMPLAINT                                                  16                                CASE NO.
                                                          Case 2:23-cv-03826-SPG-JPR Document 2-1 Filed 05/18/23 Page 18 of 29 Page ID #:30



                                                                   1                  e.        Failing to adequately monitor, evaluate, and ensure the security of its

                                                                   2                            network and systems;

                                                                   3                  f.        Failing to recognize in a timely manner that Plaintiff’s and other Class

                                                                   4                            Members’ Sensitive Information had been compromised; and

                                                                   5                  g.        Failing to timely and adequately disclose that Plaintiff’s and Class

                                                                   6                            Members’ Sensitive Information had been improperly acquired or

                                                                   7                            accessed.

                                                                   8          78.     Plaintiff’s and Class Members’ Sensitive Information would not have been

                                                                   9   compromised but for Defendant’s wrongful and unfair breach of its duties.

                                                                  10          79.     Defendant’s failure to take proper security measures to protect private Sensitive
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                                                                  11   Information of Plaintiff and Class Members created conditions conducive to a foreseeable,
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                                                                  12   intentional criminal act, namely the unauthorized access of Plaintiff’s and Class Members’

                                                                  13   Sensitive Information.

                                                                  14          80.     Plaintiff and Class Members conferred a benefit on Defendant – assistance with

                                                                  15   finding affordable housing-- in reliance on Defendant’s omissions and deceptive, unfair, and

                                                                  16   unlawful practices. Had Defendant disclosed in any form, whether verbally, in writing, or via

                                                                  17   electronic disclosure that they did not adequately secure Plaintiff’s and Class Members’ Sensitive

                                                                  18   Information, Plaintiff and Class Members would not have sought or purchased services from

                                                                  19   Defendant.

                                                                  20          81.     As a direct and proximate result of Defendant’s unfair, unlawful, and fraudulent

                                                                  21   acts and practices, Plaintiff and Class Members were injured and lost money or property, and

                                                                  22   monetary and non-monetary damages, including loss of the benefit of their bargain with

                                                                  23   Defendant as they would not have paid Defendant for goods and services or would have paid less

                                                                  24   for such goods and services but for Defendant’s violations alleged herein.

                                                                  25          82.     Plaintiff and Class Members seek all monetary and non-monetary relief allowed by

                                                                  26   law, including restitution of all profits stemming from Defendant’s unfair, unlawful, and

                                                                  27   fraudulent business practices or use of their Sensitive Information; reasonable attorneys’ fees and

                                                                  28

                                                                       COMPLAINT                                               17                              CASE NO.
                                                          Case 2:23-cv-03826-SPG-JPR Document 2-1 Filed 05/18/23 Page 19 of 29 Page ID #:31



                                                                   1   costs under California Code of Civil Procedure § 1021.5; injunctive relief; and other appropriate

                                                                   2   equitable relief.

                                                                   3                             THIRD CAUSE OF ACTION
                                                                                 VIOLATION OF CALIFORNIA CONSUMER LEGAL REMEDIES ACT
                                                                   4                             Cal. Civ. Code §§ 1750, et seq.
                                                                   5           83.      Plaintiff repeats each and every allegation of this Complaint as if fully set forth at

                                                                   6   length herein.

                                                                   7           84.      The Consumers Legal Remedies Act, Cal. Civ. Code §§ 1750, et seq. (“CLRA”) is

                                                                   8   a comprehensive statutory scheme that is to be liberally construed to protect consumers against

                                                                   9   unfair and deceptive business practices in connection with the conduct of businesses providing

                                                                  10   goods, property or services to consumers primarily for personal, family, or household use.
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                                                                  11           85.      Defendant is a “person” as defined by Civil Code §§ 1761(c) and 1770, and has
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                                                                  12   provided “services” as defined by Civil Code §§ 1761(b) and 1770.

                                                                  13           86.      Civil Code section 1770, subdivision (a)(5) prohibits one who is involved in a

                                                                  14   transaction from “[r]epresenting that goods or services have sponsorship, approval,

                                                                  15   characteristics, ingredients, uses, benefits, or quantities which they do not have.”

                                                                  16           87.      Civil Code section 1770, subdivision (a)(7) prohibits one who is involved in a

                                                                  17   transaction from “[r]epresenting that goods or services are of a particular standard, quality, or

                                                                  18   grade . . . if they are of another.”

                                                                  19           88.      Plaintiff and Class Members are “consumers” as defined by Civil Code §§ 1761(d)

                                                                  20   and 1770, and have engaged in a “transaction” as defined by Civil Code §§ 1761(e) and 1770.

                                                                  21           89.      Defendant’s acts and practices were intended to and did result in the sales of

                                                                  22   products and services to Plaintiff and Class Members in violation of Civil Code § 1770,

                                                                  23   including, but not limited to omitting, suppressing, and concealing the material fact that they did

                                                                  24   not reasonably or adequately secure Plaintiff’s and Class Members’ Sensitive Information.

                                                                  25           90.      Defendant’s omissions were material because they were likely to and did deceive

                                                                  26   reasonable consumers about the adequacy of their data security and ability to protect the

                                                                  27   confidentiality of consumers’ Sensitive Information.

                                                                  28

                                                                       COMPLAINT                                                  18                              CASE NO.
                                                          Case 2:23-cv-03826-SPG-JPR Document 2-1 Filed 05/18/23 Page 20 of 29 Page ID #:32



                                                                   1          91.     Had Defendant disclosed to Plaintiff and Class Members that its data systems were

                                                                   2   not secure and, thus, vulnerable to attack, Defendant would have been unable to continue in

                                                                   3   business and it would have been forced employ systems with reasonable data security measures

                                                                   4   and comply with the law. Instead, Defendant received, maintained, and compiled Plaintiff’s and

                                                                   5   Class Members’ Sensitive Information as part of the services it provided without advising

                                                                   6   Plaintiff and Class Members that their data security practices were insufficient to maintain the

                                                                   7   safety and confidentiality of Plaintiff’s and Class Members’ Sensitive Information. Accordingly,

                                                                   8   Plaintiff and Class Members acted reasonably in relying on Defendant’s omissions, the truth of

                                                                   9   which they could not have discovered.

                                                                  10          92.     As a direct and proximate result of Defendant’s violations of California Civil Code
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                                                                  11   § 1770, Plaintiff and Class Members have suffered and will continue to suffer injury,
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                                                                  12   ascertainable losses of money or property, and monetary and non-monetary damages, including

                                                                  13   loss of the benefit of their bargain with Defendant as they would not have paid Defendant for

                                                                  14   goods and services or would have paid less for such goods and services but for Defendant’s

                                                                  15   violations alleged herein; losses from fraud and identity theft; costs for credit monitoring and

                                                                  16   identity protection services; time and expenses related to monitoring their financial accounts for

                                                                  17   fraudulent activity; loss of value of their Sensitive Information; and an increased, imminent risk

                                                                  18   of fraud and identity theft.

                                                                  19          93.     Plaintiff and Class members seek all monetary and non-monetary relief allowed by

                                                                  20   law, including damages, an order enjoining the acts and practices described above, attorneys’

                                                                  21   fees, and costs under the CLRA.

                                                                  22                             FOURTH CAUSE OF ACTION
                                                                                      VIOLATION OF CALIFORNIA CONSUMER RECORDS ACT
                                                                  23                             Cal. Civ. Code §§ 1798.80, et seq.
                                                                  24          94.     Under California law, any “person or business that conducts business in

                                                                  25   California, and that owns or licenses computerized data that includes personal information” must

                                                                  26   “disclose any breach of the system following discovery or notification of the breach in the

                                                                  27   security of the data to any resident of California whose unencrypted personal information was, or

                                                                  28   is reasonably believed to have been, acquired by an unauthorized person.” Cal. Civ. Code §

                                                                       COMPLAINT                                                19                               CASE NO.
                                                          Case 2:23-cv-03826-SPG-JPR Document 2-1 Filed 05/18/23 Page 21 of 29 Page ID #:33



                                                                   1   1798.2. The disclosure must “be made in the most expedient time possible and without

                                                                   2   unreasonable delay” id., but “immediately following discovery [of the breach], if the personal

                                                                   3   information was, or is reasonably believed to have been, acquired by an unauthorized person.”

                                                                   4   Cal. Civ. Code § 1798.82, subdiv. b.

                                                                   5          95.       The Data Breach constitutes a “breach of the security system” of Defendant.

                                                                   6          96.       An unauthorized person acquired the personal, unencrypted information of

                                                                   7   Plaintiff and the Class.

                                                                   8          97.       Defendant knew that an unauthorized person had acquired the personal,

                                                                   9   unencrypted information of Plaintiff and the Class, but waited months to notify them. This was an

                                                                  10   unreasonable delay under the circumstances.
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                                                                  11          98.       Defendant’s unreasonable delay prevented Plaintiff and Class Members from
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                                                                  12   taking appropriate measures to protect themselves against harm.

                                                                  13          99.       Because Plaintiff and Class Members were unable to protect themselves, they

                                                                  14   suffered incrementally increased damages that they would not have suffered with timelier notice.

                                                                  15          100.      Plaintiff and the Class are entitled to equitable relief and damages in an amount to

                                                                  16   be determined at trial.

                                                                  17                                       FIFTH CAUSE OF ACTION
                                                                                                            INVASION OF PRIVACY
                                                                  18

                                                                  19          101.      Plaintiff repeats each and every allegation of this Complaint as if fully set forth at

                                                                  20   length herein.

                                                                  21          102.      The Restatement (Second) of Torts states:

                                                                  22          One who intentionally intrudes, physically or otherwise, upon the solitude or

                                                                  23          seclusion of another or his private affairs or concerns, is subject to liability to the

                                                                  24          other for invasion of his privacy, if the intrusion would be highly offensive to a

                                                                  25          reasonable person.

                                                                  26                    Restatement (Second) of Torts § 652B (1977)

                                                                  27          103.      Plaintiff and Class Members had a reasonable expectation of privacy in the

                                                                  28   Sensitive Information that Defendant mishandled.           Plaintiff and Class Members maintain a

                                                                       COMPLAINT                                                   20                               CASE NO.
                                                          Case 2:23-cv-03826-SPG-JPR Document 2-1 Filed 05/18/23 Page 22 of 29 Page ID #:34



                                                                   1   privacy interest in their Sensitive Information, which is private, confidential information that is

                                                                   2   also protected from disclosure by applicable laws set forth above.

                                                                   3          104.      Plaintiff’s and Class Members’ Sensitive Information was contained, stored, and

                                                                   4   managed electronically in Defendant’s records, computers, and databases that was intended to be

                                                                   5   secured from unauthorized access to third-parties because it contained highly sensitive,

                                                                   6   confidential matters regarding Plaintiff’s and Class Members’ identities, including Social

                                                                   7   Security numbers, that were only shared with Defendant for the limited purpose of obtaining

                                                                   8   Defendant’s housing services.

                                                                   9          105.      Additionally, Plaintiff’s and Class Members’ Sensitive Information, when

                                                                  10   contained in electronic form, is highly attractive to criminals who can nefariously use their
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                                                                  11   Sensitive Information for fraud, identity theft, and other crimes without their knowledge and
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                                                                  12   consent.

                                                                  13          106.      Defendant unlawfully intruded upon Plaintiff’s and Class Members’ solitude,

                                                                  14   seclusion, or private affairs. Defendant’s disclosure of Plaintiff’s and Class Members’ Sensitive

                                                                  15   Information to unauthorized third parties as a result of its failure to adequately secure and

                                                                  16   safeguard their Personal Information is offensive to a reasonable person.

                                                                  17          107.      Defendant’s disclosure of Plaintiff’s and Class Members’ Sensitive Information to

                                                                  18   unauthorized third parties permitted the physical and electronic intrusion into Plaintiff’s and Class

                                                                  19   Members’ private quarters where their Sensitive Information was stored and disclosed private

                                                                  20   facts about them (including their Social Security numbers) into the public domain (in this case,

                                                                  21   the dark web).

                                                                  22          108.      In failing to protect Plaintiff’s and Class Members’ Sensitive Information, and in

                                                                  23   intentionally misusing and/or disclosing their Sensitive Information, Defendant acted with

                                                                  24   intentional malice and oppression and in conscious disregard of Plaintiff’s and Class Members’

                                                                  25   rights to have such information kept confidential and private.

                                                                  26          109.       Plaintiff and Class Members have been damaged by Defendant’s conduct, by

                                                                  27   incurring the harms and injuries arising from the Data Breach now and in the future. Plaintiff,

                                                                  28   therefore, seeks an award of damages on behalf of himself and the Class.

                                                                       COMPLAINT                                                21                               CASE NO.
                                                          Case 2:23-cv-03826-SPG-JPR Document 2-1 Filed 05/18/23 Page 23 of 29 Page ID #:35



                                                                   1                                        PRAYER FOR RELIEF

                                                                   2   WHEREFORE, Plaintiff Xavier Neal-Burgin demands judgment on behalf of himself and the

                                                                   3   Class as follows:

                                                                   4           a.      Certifying that the action may be maintained as a class action and appointing the

                                                                   5                   named Plaintiff to be class representative and the undersigned counsel to be Class

                                                                   6                   counsel;

                                                                   7           b.      Requiring that Defendant pay for notifying the members of the Class of the

                                                                   8                   pendency of this suit;

                                                                   9           c.      Awarding Plaintiff and the Class appropriate relief, including actual damages,

                                                                  10                   compensatory damages, and punitive damages on the above-listed Causes of
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                                                                  11                   Action;
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                                                                  12           d.      Awarding Plaintiff and the Class prejudgment and post-judgment interest;

                                                                  13           e.      Awarding Plaintiff and the Class their attorneys’ fees and costs pursuant to

                                                                  14                   applicable laws, together with their costs and disbursements of this action; and

                                                                  15           f.      Awarding such other and further relief as the Court may deem just and proper.

                                                                  16                                                 Respectfully submitted,

                                                                  17    Dated: March 23, 2023                       KELLER GROVER LLP

                                                                  18
                                                                                                                  By: __________________________________
                                                                  19                                                  ERIC A. GROVER
                                                                  20                                                  ROBERT SPENCER
                                                                                                                      Attorneys for Plaintiff
                                                                  21
                                                                                                      DEMAND FOR TRIAL BY JURY
                                                                  22
                                                                               Plaintiff, individually and on behalf of the Class, demands a trial by jury as to all issues
                                                                  23
                                                                       triable of right.
                                                                  24
                                                                                                                    Respectfully submitted,
                                                                  25    Dated: March 23, 2023                       KELLER GROVER LLP

                                                                  26
                                                                                                                  By: __________________________________
                                                                  27                                                  ERIC A. GROVER
                                                                  28                                                  ROBERT SPENCER
                                                                                                                      Attorneys for Plaintiff
                                                                       COMPLAINT                                                22                              CASE NO.
Case 2:23-cv-03826-SPG-JPR Document 2-1 Filed 05/18/23 Page 24 of 29 Page ID #:36
Case 2:23-cv-03826-SPG-JPR Document 2-1 Filed 05/18/23 Page 25 of 29 Page ID #:37
Case 2:23-cv-03826-SPG-JPR Document 2-1 Filed 05/18/23 Page 26 of 29 Page ID #:38
Case 2:23-cv-03826-SPG-JPR Document 2-1 Filed 05/18/23 Page 27 of 29 Page ID #:39
Case 2:23-cv-03826-SPG-JPR Document 2-1 Filed 05/18/23 Page 28 of 29 Page ID #:40
Case 2:23-cv-03826-SPG-JPR Document 2-1 Filed 05/18/23 Page 29 of 29 Page ID #:41
